 1   Mark Ditton WSBA#45432                                              Judge: Honorable Brian D. Lynch
     14900 Interurban Ave. S. #265                                       Chapter 13
 2
     Seattle, WA 98168                                                   Hearing Date: 5/8/2019
 3   (206) 674-4602                                                      Hearing Time: 1:30 pm
                                                                         Response Date: 5/1/2019
 4                                                                       Hearing Location: Tacoma, WA
     Attorney for Debtor
 5

 6                                UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7

 8     In re:                                                      Case No. 16-40760 BDL
 9
       Barbara Janine Duncan                                       NOTICE OF HEARING AND
10                                                                 ATTORNEY’S APPLICATION FOR
                                                                   COMPENSATION IN A CHAPTER 13 CASE
11                                         Debtor(s).

12
                                                     NOTICE OF HEARING
13
     TO:     Clerk of the United States Bankruptcy Court; and All parties in interest:
14
             PLEASE TAKE NOTICE that an Application for Compensation in a Chapter 13 Case IS SET
15
     FOR HEARING as follows:
16
                DATE OF HEARING                  May 8, 2019
17              TIME                             1:30pm
18              JUDGE                            Hon. Brian D. Lynch
                                                 Union Station
19
                LOCATION                         1717 Pacific Ave.
20                                               Tacoma, WA 98402
                                                 Courtroom I
21              RESPONSE DUE                     May 1, 2019

22
             IF YOU OPPOSE the motion you must file your written response with the court clerk and
23
     deliver copies to the undersigned and all interested parties NOT LATER THAN THE RESPONSE
24   DATE. IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                                  Page 1
     Local Forms W.D. Wash. Bankr., Form 13-9                                                              Eff. 12/15
     GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and strike the
 1
     hearing.
 2
                                                    APPLICATION,
 3   Mark Ditton, attorney for the debtor(s), applies for additional fees and/or costs and expenses in the
 4   amount of $4,590.00
 5
     I certify under penalty of perjury that the following is true and correct:
 6
             1. This application includes amounts for:
 7               ☐Pre-Confirmation compensation.
 8               ☐Post-Confirmation compensation.
 9               ☒Pre- and Post-Confirmation compensation.

10           2. The requested sum represents services rendered and / or costs and expenses incurred from
                 2/10/16 to 4/12/19, as set forth in the itemized time record attached pursuant to Local Rules
11
                 W.D. Wash. Bankr. 2016-1(e)(3).
12
             3. A plan
13
                 ☒ was confirmed in this case on 6/24/16 (ECF Docket No._27_).
14
                 ☐ has not been confirmed. If a plan has not been confirmed, I have attached an explanation
15
                 of why I should be awarded compensation pre-confirmation.
16           4. This is my first application for compensation. I was previously awarded compensation as
17               follows:
                 $ on (ECF Docket No.                               )
18
                 $ [amount] on [date] (ECF Docket No.                          )
19
                 $ [amount] on [date] (ECF Docket No.                          )
20               $ [amount] on [date] (ECF Docket No.                          )
21               $ [amount] on [date] (ECF Docket No.                          )

22           5. The debtor(s) paid me $100 prior to filing.
             6. If approved, the total approved compensation will be $4,590.00(includes the amount
23
                 debtor(s) paid me directly prior to filing this case, all compensation previously awarded and
24
                 the compensation requested in this application).
25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                            Page 2
     Local Forms W.D. Wash. Bankr., Form 13-9                                                        Eff. 12/15
             7. If I was awarded the presumptive fee and this is my first application for compensation, the
 1
                 attached itemized time record includes all services I have provided for representation of the
 2
                 debtor(s) in any capacity whatsoever in connection with this case.
 3           8. Allowance of the compensation requested in this application
 4               ☐ will require plan modification (e.g., the compensation makes the plan infeasible).

 5               ☒ will not require plan modification.
     I REQUEST THAT:
 6
             1. The Court award the compensation requested.
 7
             2. The      awarded     compensation       be    allowed     as   an   administrative   expense   under
 8               11 U.S.C. § 503(b) and paid according to the confirmed plan or, if a plan is never confirmed,
 9               prior to dismissal or conversion (subject to applicable Trustee’s fee).

10           3. Unless the Court orders otherwise, if this case is dismissed or converted after plan
                 confirmation, the Chapter 13 Trustee shall send undisbursed plan payments on hand to the
11
                 debtor(s) in care of Applicant, if the Applicant is the debtor(s)’ attorney at the time of
12
                 dismissal or conversion.
13   A proposed order that conforms to Local Forms W.D. Wash. Bankr., Form 13-10 is attached.
14
     DATE: __4/12/2019_______
15
                                                                /s/ Mark Ditton___.
16                                                               Mark Ditton WSB#45432
                                                                APPLICANT
17

18                                           CERTIFICATE OF SERVICE

19          The undersigned certifies that a copy of the foregoing Notice and Application for Attorney Fees
     was served upon all Creditors and interested parties per the attached mailing matrix and any parties
20   requesting special notice by sending a true, full and exact copy enclosed in a sealed envelope by regular
     postage, prepaid, U.S. Mail, or, where specified, electronically:
21
     Served electronically:
22

23   Office of the U.S. Trustee;
     Michael Malaier; case trustee
24

25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                                  Page 3
     Local Forms W.D. Wash. Bankr., Form 13-9                                                              Eff. 12/15
 1
     Dated this 12th Day of April, 2019.
 2

 3                                                              /s/Mark Ditton____
                                                                Mark Ditton WSB#45432
 4                                                              14900 Interurban Ave. S. #265
                                                                Seattle, WA 98168
 5                                                              206-674-4602 (office)
                                                                866-241-4176 (fax)
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     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                       Page 4
     Local Forms W.D. Wash. Bankr., Form 13-9                                                   Eff. 12/15
Label Matrix for local noticing      Acs/Uheaa                   Audit And Adjustment
0981-3                               501 Bleecker St             19401 40th Avenue West Ste 312
Case 16-40760-BDL                    Utica, NY 13501-2401        Lynnwood, WA 98036-5600
Western District of Washington
Tacoma
Fri Apr 12 15:30:58 PDT 2019
Cap One                              Chase Card                  Comenity Bank/Lnbryant
Po Box 5253                          Po Box 15298                Po Box 182789
Carol Stream, IL 60197-5253          Wilmington, DE 19850-5298   Columbus, OH 43218-2789



Credit Management Lp                 Credit One Bank Na          Dfs/Webbk
4200 International Pkwy              Po Box 98875                12234 N Ih 35 Sb,Bldg B
Carrollton, TX 75007-1912            Las Vegas, NV 89193-8875    Austin, TX 78753-1744



Mark Ditton                          Barbara Janine Duncan       (p)FIRST HORIZON HOME LOANS
Northwest Debt Relief Law Firm       6212 124th St. Ct. E.       6363 N STATE HWY 161
14900 Interurban Ave. S. Suite 265   Puyallup, WA 98373-8822     SUITE 300
Seattle, WA 98168-4618                                           IRVING TX 75038-2231


First Tennessee Bank                 General Revenue             General Revenue Corporation
1555 Lynnfield Rd                    PO box 495999               11100 US Parkway 234347042
Memphis, TN 38119-7227               cincinnati, OH 45249-5999   Fishers, IN 46038



General Revenue Corporation          Good To Go                  Good To Go
11501 Northlake Drive                310 Maple Park Ave. SE      PO Box 300321
Cincinnati, OH 45249-1669            PO Box 47300                Seattle, WA 98103-9721
                                     Olympia, WA 98504-7300


Greenpoint Mortgage                  Hsbc Bank                   IRS
7933 Preston Rd                      Po Box 9                    PO Box 7346
Plano, TX 75024-2302                 Buffalo, NY 14240-0009      Philadelphia, PA 19101-7346



Kitsap Credit Union                  Michael G. Malaier          John Anthony McIntosh
155 Washington Ave                   2122 Commerce Street         Schweet Linde & Coulson
Bremerton, WA 98337-5606             Tacoma, WA 98402-3002       575 S Michigan Street
                                                                 Seattle, WA 98108-3316


Midland Funding                      Midland Funding LLC         James K Miersma
2365 Northside Dr Ste 30             Po Box 2011                 McCarthy Holthus
San Diego, CA 92108-2709             Warren, MI 48090-2011       108 1st Ave S.
                                                                 Suite 300
                                                                 Seattle, WA 98104-2104

Municipal Services Bureau            Municipal Services Bureau   (p)ASCENDIUM EDUCATION SOLUTIONS INC
PO Box 16755                         PO Box 16755                PO BOX 8961
Austin, TX 78761-6755                Autsin, TX 78761-6755       MADISON WI 53708-8961
Northwest Educ. Loan Assoc.                          Northwest Education Loan Association (NELA)          (p)BANKRUPTCY LITIGATION DEPARTMENT
PO Box 9460                                          PO Box 8961                                          11100 USA PARKWAY E3149
Wilkes Barre, PA 18773-9460                          Madison WI 53708-8961                                FISHERS IN 46037-9203



PUGET SOUND ENERGY                                   Pacific Northwest Coll                               Pacific Northwest Collections
VENDOR COLLECTIONS DEPT-BOT-02G                      819 Pacific Ave                                      819 Pacific Ave
PO BOX 97034                                         Tacoma, WA 98402-5209                                Tacoma, WA 98402-5209
BELLEVUE, WA 98009-9734


Porania LLC                                          Portfolio Recovery Ass                               (p)PORTFOLIO RECOVERY ASSOCIATES LLC
c/o Biltmore Asset Management                        120 Corporate Blvd Ste 1                             PO BOX 41067
24500 Center Ridge Rd Ste 472                        Norfolk, VA 23502-4952                               NORFOLK VA 23541-1067
Westlake, OH 44145-5605


Puget Sound Collections                              (p)PUGET SOUND COLLECTIONS                           Puget Sound Energy
Attn: Janice White                                   PO BOX 3011                                          bot-01h
PO Box 3011                                          TACOMA WA 98401-3011                                 po box 91269
Tacoma, WA 98401-3011                                                                                     bellevue, WA 98009-9269


Quantum3 Group LLC as agent for                      Rentoncoll                                           Syncb/Care Credit
Sadino Funding LLC                                   Po Box 272                                           C/O Po Box 965036
PO Box 788                                           Renton, WA 98057-0272                                Orlando, FL 32896-0001
Kirkland, WA 98083-0788


Syncb/Mervyns                                        Syncb/Walmart                                        Unique National Collec
Po Box 965005                                        Po Box 965024                                        119 E Maple St
Orlando, FL 32896-5005                               Orlando, FL 32896-5024                               Jeffersonville, IN 47130-3439



United States Trustee                                Webbank/Gettington                                   Wells Fargo Bank, N.A.
700 Stewart St Ste 5103                              6250 Ridgewood Rd                                    RCO Legal, PS
Seattle, WA 98101-4438                               Saint Cloud, MN 56303-0820                           c/o John A. McIntosh
                                                                                                          13555 SE 36th St.
                                                                                                          Suite 300
                                                                                                          Bellevue, WA 98006-1489
Wells Fargo Bank, N.A., dba Wells Fargo Deal         Wfds                                                 Wffinance
PO Box 19657                                         Po Box 1697                                          800 Walnut St
irvine, CA 92623-9657                                Winterville, NC 28590-1697                           Des Moines, IA 50309-3504




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


First Horizon Home Loa                               Navient Solutions, Inc. On Behalf of NELA            Nw Ed Loan
4000 Horizon Way                                     Attn: Bankruptcy Litigation Unit E3149               190 Queen Anne Avenue N Suite 300
Irving, TX 75063                                     PO BOX 9430                                          Seattle, WA 98109
                                                     Wilkes-Barre, PA 18873-9430
Portfolio Recovery Associates, LLC   Puget Sound Collections   (d)Pugt Snd Col
POB 41067                            PO Box 66995              Pob 66995
Norfolk VA 23541                     TACOMA, WA 98464-6995     Tacoma, WA 98464



End of Label Matrix
Mailable recipients    53
Bypassed recipients     0
Total                  53
